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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MICHAEL BRYANT, JOHN
DRAKE, BECKY KELLEY, AND
HERBERT LOWE
                          Plaintiffs,
       v.                                           1:04-cv-2462-WSD
VERNON JONES, MARILYN
BOYD DREW, MORRIS
WILLIAMS, RICHARD
STOGNER, and JOE STONE in
their individual capacities and in
their official capacities,
                          Defendants.


                            OPINION AND ORDER


      This matter is before the Court on Plaintiffs Michael Bryant, John Drake,

and Becky Kelley’s Motion for Reconsideration [354] (the “Motion for

Reconsideration”) of the District Court’s November 21, 2006 Opinion and Order

on Defendants’ Renewed Motions for Summary Judgment [303] (the “November

21, 2006 Order”), and on Kristy Bryant Yule’s Motion to Substitute Plaintiff

Michael Bryant with Kristy Bryant Yule, Temporary Administrator of the Estate of

Michael Bryant [397].
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I.    BACKGROUND
      This action arises from allegedly racially-discriminatory policies and actions

by employees of DeKalb County.1 Plaintiffs Michael Bryant (“Bryant”),2 John

Drake (“Drake”), Becky Kelley’s (“Kelley”) and Herbert Lowe’s (“Lowe”)

Complaint alleges, among other causes of action, violations of 42 U.S.C. § 1981,

as enforced by 42 U.S.C. § 1983. (Compl. ¶ 100.) It is well-settled that in cases

involving claims against government defendants, § 1983 is the exclusive damages

remedy for the violation of rights guaranteed by § 1981. Butts v. County of

Volusia, 222 F.3d 891, 893 (11th Cir. 2000).

      Section 1981 provides, in part:

      (a) Statement of equal rights

      All persons within the jurisdiction of the United States shall have the
      same right in every State and Territory to make and enforce contracts,
      to sue, be parties, give evidence, and to the full and equal benefit of
      all laws and proceedings for the security of persons and property as is
      enjoyed by white citizens, and shall be subject to like punishment,
      pains, penalties, taxes, licenses, and exactions of every kind, and to no
      other.

      (b) “Make and enforce contracts” defined
1
  The November 21, 2006 Order contains a detailed discussion of the facts of this
case that need not be repeated here.
2
  Michael Bryant died on February 4, 2010. Kristy Yule has moved the Court to
substitute her as a plaintiff in her capacity as Temporary Administrator of the
Estate of Michael Bryant. Defendants do not oppose the substitution. The Court
GRANTS Kristy Bryant Yule’s Motion for Substitution.

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        For purposes of this section, the term “make and enforce contracts”
        includes the making, performance, modification, and termination of
        contracts, and the enjoyment of all benefits, privileges, terms, and
        conditions of the contractual relationship.

Section 1981 was amended to its present form in 1991, when Congress passed the

Civil Rights Act of 1991 (the “1991 Act”). Section 101 of the Act amended

§ 1981 by adding § 1981(b). The amendment permits employees to bring

employment actions, such as those for discrimination, harassment, and retaliation,

based on existing employment relationships.

        Just prior to the enactment of the 1991 Act, Congress passed 28 U.S.C.

§ 1658 which provided a catchall four-year statute of limitations for actions arising

under federal statutes enacted after December 1, 1990, which do not have statute of

limitations provisions. Palmer v. Stewart County Sch. Dist., 178 F. App’x. 999,

1002-03 (11th Cir. 2006) (citing 29 U.S.C. § 1658 and Jones v. R.R. Donnelley &

Sons Co., 541 U.S. 369, 371 (2004)). Neither § 1981 nor § 1983 have statute of

limitations provisions. In the absence of a limitations period in § 1983, our Circuit

has held that the statute of limitations for § 1983 claims3 is the Georgia state statute

of limitations for claims related to injuries to a person, which is two years.

Williams v. City of Atlanta, 794 F.2d 624, 626 (11th Cir. 1986); see also O.C.G.A.

§ 9-3-33. Our Circuit had not addressed what limitations period applied to § 1981

3
    Section 1983 was not amended or enacted after December 1, 1990

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claims enabled by the 1991 Act and brought against a government defendant under

§ 1983 when the Court entered its summary judgment Opinion and Order in this

case

        In June 2006, the Defendants each moved for summary judgment. In these

motions, the Defendants argued that Bryant, Kelley and Drake’s § 1981

discriminatory transfer claims, Drake’s § 1981 failure to promote claim, and

Kelley’s § 1981 hostile work environment claim were untimely because they were

brought through § 1983, which has a two year statute of limitations.4 Plaintiffs

argued in opposition that the statute of limitations for these § 1981 claims was four

years based on 42 U.S.C. § 1658. 5

        On November 21, 2006, the Court issued its order on Defendants’ summary

judgment motions. In it, the Court discussed that the Eleventh Circuit had no

published authority on this statute of limitations question. The Court then held that

the two year statute of limitations applied to Plaintiffs’ § 1981 claims brought

under § 1983. Based upon this two year limitations period, summary judgment

was granted on: (1) Bryant’s § 1981 discriminatory reassignment or transfer claim

4
    These claims were largely based on Defendants’ actions occurring in early 2002.
5
  Plaintiffs also asserted these same facts gave rise to § 1983 claims. Plaintiffs did
not dispute that a two year statute of limitations applies to those claims asserting
violations of § 1983. The Court finds that summary judgment is granted as to
these claims as discussed in the November 21, 2006 Order.

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brought against Defendants in their official capacities; (2) Kelley’s § 1981

discriminatory reassignment or transfer claim brought against Defendants in their

official capacities; (3) Drake’s § 1981 discriminatory reassignment or transfer

claim brought against Defendants in their official capacities; and (4) Drake’s

§ 1981 failure to promote claim brought against Defendants in their official

capacities (the “Dismissed Claims”).6

      On December 18, 2006, Defendants filed an interlocutory appeal based on

the Court’s denial of Defendants’ qualified immunity defense. While the case was

on appeal, the Eleventh Circuit addressed in Baker v. Birmingham Board of

Education, 531 F.3d 1336 (11th Cir. 2008), which statute of limitations period

applies for employment cases alleging § 1981 claims against government

defendants. In Baker, the plaintiff brought race discrimination and retaliation

claims under 42 U.S.C. § 1981, by and through 42 U.S.C. § 1983, for actions

occurring during his employment with the Board of Education. The district court

granted summary judgment for the Board of Education on the grounds that Baker’s

claims, which arose more than two years prior to filing suit, were untimely. Baker

appealed and argued that a four year statute of limitations should apply.


6
  The Court denied summary judgment as to Kelley’s § 1981 hostile work
environment claim since it found that Kelley had alleged some harassing conduct
occurred within two years of the filing of the complaint.

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        Noting the inconsistent decisions on this statute of limitations issue, the

Eleventh Circuit held that the applicable statute of limitations for § 1981 claims,

enabled by the 1991 Act and brought under § 1983 against government defendants,

is four years.7

        The case now has been remanded for trial following the Circuit’s review of

this Court’s November 21, 2006 Opinion and Order.8 After remand, on December

22, 2009, Plaintiffs filed their Motion for Reconsideration, asserting that Baker

constitutes an intervening change in the law requiring reconsideration of the

November 21, 2006 Order on the issue of the statute of limitations to be applied to

the Dismissed Claims. Defendants opposed the Motion for Reconsideration on the

grounds that it is untimely and procedurally defective.

II.     MOTION FOR RECONSIDERATION
        A.    Standard For Reconsideration

        A district court has the discretion to revise or reconsider interlocutory orders

at any time before final judgment has been entered. See Fed. R. Civ. P. 54(b); e.g.,

McCoy v. Macon Water Auth., 966 F. Supp. 1209, 1222 (M.D. Ga. 1997). A

motion for reconsideration generally is appropriate where there is: (1) newly
7
  In Baker, the Eleventh Circuit reasons that where a statute enacted after 1990
made possible a claim that did not exist during or before 1990, 28 U.S.C. § 1658’s
four year limitations period applied to the after-1990 enabled claim.
8
    Trial is set to begin on March 22, 2010.

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discovered evidence; (2) an intervening development or change in controlling law;

or (3) a need to correct a clear error of law or fact. See, e.g., Jersawitz v. People

TV, 71 F. Supp. 2d 1330, 1344 (N.D. Ga. 1999); Pres. Endangered Areas of

Cobb’s History, Inc. v. U.S. Army Corps of Eng’rs, 916 F. Supp. 1557, 1560 (N.D.

Ga. 1995), aff’d, 87 F.3d 1242 (11th Cir. 1996)

      B.     The Baker Decision Requires Reconsideration of the November 21,
             2006 Order

      Plaintiffs contend that the Baker decision constitutes an intervening change

of law which compels reconsideration of the November 21, 2006 Order. The Court

agrees. Baker established new Eleventh Circuit authority on this unsettled

question of law. Reconsideration of the November 21, 2006 Order based on this

new authority is appropriate.

      Defendants do not dispute that Baker constituted an intervening change in

the law. Defendants instead argue that the Motion for Reconsideration should be

denied because it was not timely brought and because it is procedurally defective.

These arguments are unconvincing.

      The Motion for Reconsideration is timely. Under Rule 54(b) of the Federal

Rules of Civil Procedure, a court may revise an interlocutory order prior to the

entry of final judgment. Here, final judgment has not been entered, and the Motion

for Reconsideration that the Court now considers was made promptly after this

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action was remanded from the Eleventh Circuit after the appeal of the Court’s

November 21, 2006 Order was concluded. The Motion for Reconsideration is

timely under Rule 54(b).9

       The Motion for Reconsideration also does not suffer from any procedural

defects. Defendants generally assert Plaintiffs should have been more specific in

stating which claims they are asking the Court to reconsider. The Court finds that

Plaintiffs have sufficiently identified the rulings to be reconsidered by requesting

reconsideration of their § 1981 claims.10

III.   RECONSIDERATION OF THE NOVEMBER 21, 2006 ORDER

       Plaintiffs Bryant, Drake, and Kelley seek reconsideration of the Court’s

grant of summary judgment on:

       (1)   Bryant’s § 1981 claim for discriminatory transfer or
             reassignment brought against Defendants in their official
             capacities;

       (2)   Kelley’s § 1981 claim for discriminatory transfer or
             reassignment brought against Defendants in their official
             capacities;



9
   Defendants assured the Court that they would not be prejudiced by a
reconsideration of the November 21, 2006 Order and were prepared to proceed to
trial as scheduled on March 22, 2010.
10
 The Court finds that reconsideration is only required for the Dismissed Claims,
which are the only claims affected by the Eleventh Circuit’s decision in Baker.

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      (3)   Drake’s § 1981 claim for discriminatory transfer or
            reassignment brought against Defendants in their official
            capacities; and

      (4)   Drake’s § 1981 claim for failure to promote brought against
            Defendants in their official capacities. 11

The Court discusses the impact of Baker on each claim below. 12

      A.    Plaintiffs § 1981 Claims Are Timely

      The Eleventh Circuit found, in Baker, that § 1981 claims asserted pursuant

to the 1991 Act are governed by 28 U.S.C. § 1658’s four-year statute of

limitations. Defendants do not dispute that Bryant’s discriminatory transfer claim,

Drake’s discriminatory transfer claim, and Kelley’s discriminatory demotion and


11
   In footnote 16 of the November 21, 2006 Order, the Court found:
       In response to Defendants’ motions for summary judgment asking the
       Court to apply the two-year statute of limitations to all Plaintiffs’
       claims, Plaintiffs do not contend that they also assert § 1981 claims
       against Defendants in their individual capacities. In fact, they state
       that they bring their § 1981 claims through § 1983. Because Plaintiffs
       have abandoned this individual capacity argument, the Court does not
       consider whether those claims would be time-barred under the
       limitations period applicable to § 1981 actions.
Since Plaintiffs’ § 1981 claims against Defendants in their individual capacities
were dismissed as abandoned, and not dismissed based on the application of a two
year statute of limitations, the Court only reconsiders its ruling on the Dismissed
Claims to the extent they relate to Defendants in their official capacities.
12
   In their briefs for the Motion for Reconsideration, the Parties make a number of
arguments regarding the substantive merits of Plaintiffs’ § 1981 claims in the event
the claims are found to be timely under Baker. These argument are immaterial to
whether reconsideration is appropriate based upon Baker and are not considered in
connection with the motions for summary judgment.

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hostile work environment claims are all claims asserted pursuant to the 1991 Act.

Under Baker, a four year statute of limitations applies to these claims, and thus

they are timely.

      Defendants argue that Drake’s failure to promote claim is subject to

§ 1981’s two year statute of limitations because this cause of action was available

before the enactment of 28 U.S.C. § 1658 and the 1991 Act. Before the 1991 Act,

a failure to promote claim could be brought under § 1981 only if the promotion

rose to the level of an “opportunity for a new and distinct relationship between the

employee and the employer.” Patterson, 491 U.S. 164, 186-86 (1989) (superseded

by 42 U.S.C. § 1981 (1991)). The 1991 Act, which permits claims based on

existing contracts, enabled a plaintiff to bring a failure to promote claim under

§ 1981(b) even where the promotion would not amount to a new and distinct

relationship.

      Defendants argue that Drake’s failure to promote claim is subject to the two-

year statute of limitations because his prospective promotion to Director of Parks

and Recreation would have involved a sufficient change in the parties’

employment relationship to constitute an opportunity to enter into a new contract

with the employer. Defendants argue that this is a “new and distinct” relationship

with the County, which was a cause of action allowed before the 1991 Act and thus


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is not subject to § 1658’s four year limitations period. Defendants’ sole evidence

to support its argument that this was a “new and distinct relationship” promotion is

that the promotion would have moved Drake from a position that was covered by

the County’s merit system to a non-merit system position.

      Plaintiffs contend that Drake’s failure to promote claim arises under the

1991 Act since it would have modified Drake’s employment with DeKalb County

and did not create an entirely new and distinct relationship. Plaintiffs argue that

the Director of Parks and Recreation position was a merit-system position at the

time of the promotion.13

      The Court finds that Defendants have not satisfied their burden to show that,

as a matter of law, a promotion to Director of the Parks and Recreation Department

would “rise[ ] to the level of an opportunity for a new and distinct relationship

between the employer and the employee.” Patterson, 491 U.S. at 166. Defendants

have only shown a change from the merit system to the non-merit system.

Defendants do not explain the impact of this change or demonstrate how it would

significantly alter the relationship between the parties. “The court will not ‘scour

the record’ to determine whether summary judgment is proper.” See, e.g., Realty

Partners, L.P. v. Taffarello, 561 F. Supp. 2d 659, 663 n.2 (E.D. Tex. 2007). The
13
   The Court finds that Plaintiffs have not presented any evidence to support this
claim.

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change from merit to non-merit, without more and without explanation, is not

enough to show a new and distinct relationship.14 See, e.g., Williams v. National

Railroad Passenger Corp., 716 F. Supp. 49, 51 (D.D.C. 1989) (it is not enough that

a promotion merely provides an increase in pay); cf. Miller v. Swissre Holding,

Inc., 731 F. Supp. 129, 131-132 (S.D.N.Y. 1990) (finding new and distinct

relationship would have been created where Plaintiff demonstrated that promotion

would have moved employee from non-exempt to exempt status, employer benefits

would have changed, and the employee’s duties would have changed). Based on

the record before the Court, the Defendants motion for summary judgment on the

issue of whether Drake’s failure to promote claim is time barred based on a two

year statute of limitation is denied. See, e.g., Nunez v. First Union Nat’l Bank of

Fla., 996 F.2d 287, 289 (11th Cir. 1993) (denying summary judgment where

dispute of material fact existed whether promotion would constitute new and

distinct relationship).

      Defendants next argue that even if the Dismissed Claims now are timely,

they each fail as a matter of law.




14
   A comparison of the two positions’ job descriptions reveals nearly identical
responsibilities. (See Pl. Exs. 27 & 28.)

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      B.     Kelley, Bryant, and Drake’s Discriminatory Transfer or Reassignment
             Claims

      Plaintiffs Kelley, Bryant and Drake each assert that they were transferred or

reassigned as a result of Defendants’ discriminatory policies and that these

reassignments constituted adverse employment actions. Section 1981, § 1983 and

Title VII have the same proof requirements and use the same analytical framework.

Standard v. A.B.E.L. Servs., Inc., 161 F.3d 1318, 1330 (11th Cir. 1998); Sledge v.

Goodyear Dunlop Tires N. Am., Ltd., 275 F.3d 1014, 1015 n.1 (11th Cir. 2001)

(noting the same prima facie case and burden-shifting mechanisms apply to Title

VII and § 1981 discrimination claims). A plaintiff seeking to establish intentional

discrimination may do so using direct or circumstantial evidence. Wilson v. B/E

Aerospace, Inc., 376 F.3d 1079, 1085 (11th Cir. 2004).

              1.    Direct Evidence

      Plaintiffs assert that the various statements that Defendants made to Lowe

constitute direct evidence that the transfers of Bryant, Kelley and Drake were

discriminatory.15 The Eleventh Circuit has defined direct evidence of

discrimination as evidence that reflects “a discriminatory or retaliatory attitude

correlating to the discrimination . . . complained of by the employee.” Wilson, 376


15
   Whether these transfers are “adverse employment actions” sufficient to state a
claim for discrimination is discussed below.

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F.3d at 1086 (quoting Damon v. Fleming Supermarkets of Fla., Inc., 196 F.3d

1354, 1358 (11th Cir. 1999)) (internal quotation marks omitted).

      The standard for showing “direct evidence is a stringent one and only the

most blatant comments will serve to prove such intent.” Early v. Champion Int’l

Corp., 907 F.2d 1077, 1081-82 (11th Cir. 1990). The direct evidence must relate

to the specific employment decision at issue without inference and presumption.

EEOC v. Joe’s Stone Crab, 220 F.3d 1263, 1286 (11th Cir. 2000). The Eleventh

Circuit routinely has found there is no direct evidence of discrimination – even

when there were seemingly blatant remarks – if discrimination is required to be

proved by inference or presumption. See, e.g., Carter v. Three Springs Residential

Treatment, 132 F.3d 635, 642 (11th Cir. 1998) (supervisor’s statement that she had

“a bias against blacks and found they were difficult for her to trust or get along

with” did not constitute direct evidence of discrimination because the statement

was susceptible to more than one interpretation and did not relate directly to the

decision not to promote plaintiff); see also Damon, 196 F.3d at 1359 (no direct

evidence in age discrimination case where the decision maker stated that “the

company needed … young men … to be promoted.”)

      The testimony of Lowe may well establish direct evidence of discrimination

regarding the reassignments. At issue are the transfers of Kelley and Drake, which


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were implemented by an executive order drafted by Stogner and approved by

Jones, and the reassignment of Bryant, which was ordered by Drew.16 Prior to

these transfers, Kelley, Drake, Bryant occupied management positions within the

County. Lowe testified that Jones informed him of a plan to “darken” the

administration by placing black individuals in management positions at the

expense of white employees. (Lowe Dep., at 380-81.) He further stated that

current white managers would not be directly fired but would be “reorganized,”

where they would be transferred to positions where they would be marginalized

and set up to fail. (Id. at 339, 353-355.) Jones specifically stated that Drake,

Bryant, and Kelley had been or would be reassigned as part of this plan. (Id.)

Drew specifically told Lowe that Bryant was a target of this policy and that she

wanted Bryant out of the Parks and Recreation Department. (Id. at 140, 155, 514-

15.) These statements are evidence of a discriminatory intent by the final decision-

makers17 who carried out the reassignments. No presumption or inference is

necessary to connect this intent to the reassignments at issue.

      Where direct evidence is present, summary judgment is not appropriate.


16
  The Court also finds that Plaintiffs have presented sufficient evidence to create a
question of fact whether Jones was also involved in the decision to transfer Bryant.
17
   Defendants have not offered any evidence that these reassignments are subject
to administrative review under the DeKalb County Code.

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Brown v. Metro. Atlanta Rapid Transit Auth., 261 Fed. App’x 167, 172 (citing

Evans v. McClain of Georgia, Inc., 131 F.3d 957, 962 (11th Cir.1997) (If “a

plaintiff produces direct evidence of a discriminatory motive, and the trier of facts

accepts this testimony the ultimate issue of discrimination is proven.”).18

              2.      Circumstantial Evidence

      Even if Lowe’s testimony is not direct evidence of discrimination it is

circumstantial evidence of discrimination. To establish intentional discrimination

using circumstantial evidence, a plaintiff must use the framework established by

McDonnell Douglas. Under this framework, the plaintiff must make a prima facie

case of discrimination with respect to the employment action in question. Chapman

v. AI Transp., 229 F.3d 1012, 1024 (11th Cir. 2000). If the plaintiff makes a prima

facie showing, the defendant must articulate a legitimate, non-discriminatory reason

for the adverse employment action. Id. The burden then shifts back to the plaintiff

to show defendant’s legitimate, non-discriminatory reason is a pretext for unlawful

discrimination. Id.




18
   To the extent that Defendants contend that they would have reached the same
decision even if they had not taken race into account, a triable issue of fact exists
based on Lowe’s testimony.

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                     a)       Prima facie analysis

      To establish a prima facie case of discriminatory reassignment, a plaintiff

must show that he or she 1) was a member of a protected class, 2) was qualified,

and 3) suffered an adverse employment action. Hinson v. Clinch County, Georgia

Bd. of Educ., 231 F.3d 821, 828 (11th Cir. 2000). An adverse employment action is

a serious and material change in the terms, conditions, or privileges of employment.

See Davis v. Town of Lake Park, Fla., 245 F.3d 1232, 1239 (11th Cir. 2001).19

      Defendants argue that the transfers alleged by Plaintiffs cannot be considered

adverse employment actions and Plaintiffs are improperly second-guessing the

County’s legitimate business decisions. A transfer to a different position can be

“adverse” if it involves a reduction in pay, prestige or responsibility. See Doe v.

DeKalb County Sch. Dist., 145 F.3d 1441, 1448 (11th Cir.1998). To evaluate

whether a transfer or reassignment is adverse, the Eleventh Circuit has adopted an

objective test, asking whether “a reasonable person in [the plaintiff's] position

would view the employment action in question as adverse.” Id. at 1449. This is

generally an issue of fact.

      Viewing the evidence in the light most favorable to Plaintiffs, a reasonable

person could view Kelley’s reassignment to manage the Greenspace Program as a
19
   Defendants do not assert that Bryant, Kelley or Drake are not members of a
protected class or were not qualified.

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discriminatory adverse employment action. Kelley alleges that the decision to

reassign her was made by Stogner and ultimately approved by Jones. Kelley has

also alleged facts that implicate Drew in this allegedly discriminatory adverse

employment action based on Drew’s role in determining Kelley’s job

responsibilities once the transfer took effect. 20 While the reassignment did not

change Kelley’s salary or benefits, it changed her reporting structure and allegedly

foreclosed any possibility of promotion or advancement within the County. As part

of this reassignment, Drew attempted to move Kelley into a windowless office

which was used primarily for storage. Kelley alleges that once she was reassigned,

her input was ignored and she was increasingly marginalized. Kelley stated that her

job responsibilities ultimately amounted to “coloring maps.” A reasonable person

may conclude that Kelley’s reassignment constituted a discriminatory adverse

employment action because it involved a substantial diminution of her prestige and

responsibility. Hinson v. Clinch County, Ga. Bd. of Educ., 231 F.3d 821, 829 (11th




20
   Bryant does not allege any facts demonstrating that Stone, Stoner, or Williams
were involved in making this decision. Summary judgment is granted to Stone,
Stoner, and Williams on Bryant’s official capacity § 1981 claim for discriminatory
reassignment.


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Cir. 2000) (“a transfer to a different position can be ‘adverse’ if it involves a

reduction in pay, prestige or responsibility.”).21

      Bryant has also alleged facts that are sufficient to lead a reasonable individual

to conclude that he suffered a discriminatory adverse employment action. Bryant

alleges that he was reassigned by Drew, based on Jones’ input and discriminatory

policy, from his position of Deputy Director of Revenue Management and Support

to a position with limited responsibility or room for promotion within the Parks

Department. Bryant alleges that although his title and pay remained the same,

Drew increasingly reduced his responsibilities. Drew removed Bryant’s fiscal and

contracting responsibilities and generally reduced his scope of authority.22 Bryant

alleges that Drew also removed his supervisory duties and transferred him to a

remote office in the County. Bryant alleges his career was essentially placed in

limbo, without opportunity for advancement, since his job title was kept the same

21
   Kelley does not allege any facts demonstrating that Stone or Williams were
involved these decisions. Summary judgment is granted to Stone and Williams on
Kelley’s official capacity § 1981 claim for discriminatory reassignment or transfer.
22
   Defendants contend that Kelley, Bryant, and Drake’s allegations that their new
positions were demeaning, lacked prestige, and did not offer opportunity for
advancement are nothing more than non-actionable, second-guessing of an
employer’s business judgment. Lowe’s testimony creates a dispute of fact
regarding this claim. Lowe testified that Drew and Jones admitted that these
reassignments were designed to be facially neutral but intended to marginalize
Drake, Bryant, and Kelley, reduce their influence within the County, and,
ultimately, set them up to fail.

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but he was given the responsibilities for an entirely different department. A

reasonable person could conclude these facts are sufficient to constitute a

discriminatory adverse employment action.

       A reasonable individual could also find that Drake’s transfer from Assistant

Director of the Purchasing and Contracting Department to Acting Assistant

Director of the Parks and Recreation Department constituted a discriminatory

adverse employment action. The decision to reassign Drake was made by Stogner

and approved by Jones.23 Drake has also alleged facts that implicate Drew in this

allegedly discriminatory adverse employment action based on Drew’s role in

determining Drake’s job responsibilities once the transfer took effect. Drake

alleges that even though this reassignment included a pay raise, it reduced his

responsibilities, required him to perform menial tasks, and left him no opportunity

for advancement. Drake alleges the transfer removed him from the second most

senior position in the Parks Department and made him the functional equivalent of

a lower-level deputy director. He was told that he was only there to “prop up”

Drew. Drake further testified that Drew limited his supervisory responsibilities by


23
   Drake does not allege any facts demonstrating that Stone or Williams were
involved in making this decision or the subsequent determination of his job
responsibilities following this transfer. Summary judgment is granted to these
persons on Bryant’s official capacity § 1981 claim for discriminatory
reassignment.

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requiring Deputy Directors, whom Drake oversaw, to report directly to Drew.

Finally, Drake alleges that Drew refused to consult with him and excluded him

from decision-making regarding issues for which he was responsible. Drake has

also met his prima facie burden.

                    b)     Legitimate non-discriminatory reason and pretext

      Once a plaintiff has made a prima facie case, the burden shifts to the

employer to offer a legitimate, non-discriminatory justification for its decision.

Wascura v. City of S. Miami, 257 F.3d 1238, 1243 (11th Cir. 2001). The

employer’s burden is “merely one of production; it need not persuade the court that

it was actually motivated by the proffered reasons. It is sufficient if the defendant’s

evidence raises a genuine issue of fact as to whether it discriminated against the

plaintiff.” Schweers v. Best Buy, Inc., 132 F. App’x 322, 325 (11th Cir. 2005).

Defendants contend that Kelley was transferred to the Greenspace Bond Project

because of her experience and skill set in the area of conservation and parks

development. Defendants contend that Kelley’s relationships in this area balanced

well with Drew’s experience in recreation. Defendants contend that Bryant was

transferred because of his experience and because relocation to the Tucker office

would enable him to have direct oversight of program managers located there.

Defendants contend that Drake was transferred to the Assistant Parks Director



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position because of his administrative skills which would allow Drew to spend her

time focusing on other priorities. Defendants have met their burden of production.

       “To survive summary judgment, Plaintiff must provide sufficient evidence

to allow a reasonable fact finder to conclude, at a minimum, that the proffered

reasons were not actually the motivation for the employer’s decision.” Miller v.

Bed, Bath & Beyond, Inc., 185 F. Supp. 2d 1253, 1270 (N.D. Ala. 2002) (citing

Combs v. Plantation Patterns, 106 F.3d 1519, 1538 (11th Cir. 1997)). Plaintiff

may do this by showing “that the employer’s legitimate nondiscriminatory reasons

should not be believed,” or “that, in light of all of the evidence, a discriminatory

reason more likely motivated the decision.” Id. (citations omitted). A plaintiff

must produce evidence to show “such weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the employer’s proffered

legitimate reasons [for an employment decision] that a reasonable fact finder could

find them unworthy of credence.” Hamilton v. Montgomery County Bd. of Educ.,

122 F. Supp. 2d 1273, 1281 (M.D. Ala. 2000) (quoting Combs, 106 F.3d at 1539).

      Federal courts “do not sit as a super-personnel department that reexamines an

entity’s business decisions.” Chapman, 229 F.3d at 1030 (quoting Elrod v. Sears,

Roebuck & Co., 939 F.2d 1466, 1470 (11th Cir. 1991)). It is not appropriate for

either the plaintiff or this court to “recast an employer’s proffered


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nondiscriminatory reasons or substitute his business judgment for that of the

employer.” Id. An employer may reassign “an employee for a good reason, a bad

reason, a reason based on erroneous facts, or for no reason at all, as long as its

action is not for a discriminatory reason.” Nix v. WLCY Radio/Rahall Commc’n,

738 F.2d 1181, 1187 (11th Cir. 1984).

       Plaintiffs have produced sufficient evidence to raise issues of disputed facts

that these stated reasons were pretext for unlawful discrimination based on

Plaintiffs’ race. See Smith v. BellSouth Telecomms., Inc., 273 F.3d 1303, 1314

(11th Cir. 2001). Plaintiffs have presented evidence that the decisions to transfer

and reassign Kelley, Bryant, Drake were not the result of legitimate business

decisions. Lowe testified that Defendants informed him of an elaborate scheme to

transfer and reassign these employees in order to place black employees in

management positions and to force these white employees to resign from their

positions with the County. Lowe testified that Bryant, Drake, and Kelley were

specifically identified as targets of this plan. Plaintiffs’ allegations thus amount to

more than second-guessing of allegedly legitimate business decisions. Plaintiffs

have offered sufficient evidence to allow a reasonable fact finder to conclude

Defendants stated reasons for its actions were not actually their motivation:

specifically, Plaintiffs have offered evidence of a subtle, calculated plan to


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discriminate against white employees. Defendants Motions for Summary

Judgment as to Plaintiff Kelley, Bryant, and Drake’s official capacity § 1981

claims are denied.

        C.     Drake’s Failure to Promote Claim

       Drake asserts that he was discriminated against when he was not chosen for

the position of Director of Parks and Recreation. To state a prima facie case for

discriminatory failure to promote claim, a plaintiff must establish: (1) membership

in a protected class; (2) that he applied for the position; (3) that he was qualified for

the position; and (4) that he was rejected despite the qualification; and (5) the

position was filled by someone outside his protected class. See Vessels v. Atlanta

Indep. Sch. Sys., 488 F.3d 763, 767-68 (11th Cir. 2005).24

       Defendants contend that Drake cannot satisfy the qualification element of a

prima facie case because the Director of Parks and Recreation position required a

master’s degree and Drake did not have this academic credential. The minimum

requirements for the position of Director were:

        Master’s degree in Recreation, Physical Education, Public
        Administration, or other related field; six years of experience in
        supervision and management of recreation programs, park
        management, or a related field. An equivalent combination of
        education and experience may be considered in determining eligibility
        for this position.

24
     Drake has not presented direct evidence of discrimination for this claim.

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(Def. SMF ¶ 104, Ex. 17.) Defendants contend that Drake has offered only his

subjective opinion of his qualification and this is not sufficient to satisfy his prima

facie burden.

       Drake contends that a master’s degree is not absolutely required based upon

the language of the job description, and he was qualified for the position based on

his equivalent combination of education and experience. Drake contends that his

equivalent experience is best demonstrated by the fact that he was given the

Assistant Director position which has a nearly identical “Minimum Requirements”

description. Drake further contends that Stogner, the principal decision-maker for

the Director position, admitted that Drake was qualified and should have been given

the position a decade earlier. The Court finds that Drake has presented sufficient

evidence to satisfy his prima facie burden on this element.

       Defendants next argue that Drake cannot make a prima facie case because

he never applied for the position. Drake argues that he was not required to apply

because an application would have been futile.

       Courts have found a limited futility exception to the application requirement.

See Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 365-66 (1977) (“When

a person’s desire for a job is not translated into a formal application solely because

of his unwillingness to engage in a futile gesture he is as much a victim of


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discrimination as is he who goes through the motions of submitting an

application.”) In Teamsters, the Court stated that “[v]ictims of gross and pervasive

discrimination” are not required to apply formally for a position if they can

establish that but for the employer's discriminatory practices they would have

applied for a job. See id. at 367-68. Courts, generally, have maintained a high bar

for establishing futility. See, e.g., Schackleford v. Deloitte & Touche, LLP, 190

F.3d 398, 406 (5th Cir. 1999) (futility not found where evidence of discrimination

was speculative and supervisor stated that plaintiff would “probably be better off”

in her current position.”); Cooper v. Diversicare Mgmt. Serv. Co., 115 F. Supp. 2d

1311, 1318 (M.D. Ala. 1999).

       Drake has not presented sufficient evidence to satisfy this futility exception.

Drake testified that he believed this particular promotion decision was made on the

basis of race. Drake, however, did not testify that he was aware of a gross and

pervasive scheme of discrimination which deterred him from applying to the

Director position and lead him to believe that his application would be futile.

Moreover, Drake’s argument that Stogner somehow deterred him from applying is

not supported. Drake testified that Stogner first informed him that he would not be

awarded the position and that Drew would be the Director on Monday, March 11,

2002. This was three days after the application deadline had closed. (Defs.’ Ex.


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17).25 This evidence discredits his claim that he knew that an application for the

position would be futile and that the promotion was a foregone conclusion. Drake

cannot meet his prima facie burden, and summary judgment is granted.26

      D.     Official Immunity

      Drew, Stogner, and Williams each assert an official immunity defense to the

Dismissed Claim. For the reasons stated in the November 21, 2006 Order and the

Court of Appeals’ Opinion in Bryant v. Jones, 575 F.3d 1281 (2009), the Court

determines that Defendants’ official immunity arguments are unfounded.

IV.   CONCLUSION

      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs Bryant, Drake and Kelley’s

Motion for Reconsideration [354] is GRANTED.

      IT IS FURTHER ORDERED that Stogner’s Motion for Summary

Judgment [256] be GRANTED IN PART and DENIED IN PART. Defendant


25
   While the Director position was listed as an “intra-departmental” transfer, the
Court finds no support for the proposition that Drake was somehow deterred from
applying based on this fact or that Defendants delayed his transfer to the Parks and
Recreation Department to ensure that he could not apply. Indeed, it appears that
other individuals from outside the Parks and Recreation Department applied for
and were considered for the position.
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   The Court notes that based upon its findings, Defendant Stone remains
dismissed from this matter.

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Stone’s Motion for Summary Judgment [257] is GRANTED. Defendant Jones’s

Motion for Summary Judgment [259] is GRANTED IN PART and DENIED IN

PART. Defendant Williams’s Motion for Summary Judgment [263] is

GRANTED IN PART and DENIED IN PART. Defendant Drew’s Motion for

Summary Judgment [262] is GRANTED IN PART and DENIED IN PART.

         Specifically, summary judgment is granted as to Stoner, Stone, and Williams

on Bryant’s § 1981 discriminatory reassignment or transfer claim brought against

Stoner, Stone, and Williams in their official capacities. Summary judgment is

granted as to Stone and Williams on Kelley and Drake’s § 1981 discriminatory

reassignment or transfer claims brought against Stone and Williams in their official

capacities. Summary judgment is granted as to all Defendants on Drake’s § 1981

failure to promote claim.27

         Summary judgment is denied as to Drew and Jones on Bryant’s § 1981

discriminatory reassignment or transfer claim brought against Drew and Jones in

their official capacities. Summary judgment is denied as to Drew, Jones, and

Stoner on Kelley and Drake’s § 1981 discriminatory reassignment or transfer

claims brought against Drew, Jones, and Stoner in their official capacities.




27
     Stone remains dismissed from this action.

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     IT IS FURTHER ORDERED that Kristy Bryant Yule’s Motion for

Substitution [397] is GRANTED.



     SO ORDERED this 12th day of March, 2010.


                            _________________________________________
                            WILLIAM S. DUFFEY, JR.
                            UNITED STATES DISTRICT JUDGE




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